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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


UNITED STATES OF AMERICA,


vs.                                                    CASE NO. 8:93-CR-123-T-EAK


FRANCO M. MANGIAFICO
                                        /

                                             ORDER

       This cause comes before the Court on the Defendant’s motion to vacate supervised
release (Doc. 1156), the response of the government (Docket 1158), and the response of the
United States Probation Office. The Court has reviewed the motion and responses and does not
find the motion well-taken. The Defendant is seeking to terminate his supervisted release, a five
year term, after only 36 months Apparently this is pursuant to Amendment 782 of the
Sentencing Guidelines. The Court concurs with the statement of the probation office and the
government that Amendment 782 does not afford the Defendant the relief he seeks as it is not
applicable to his situation. Additionally, the probation office objects to the motion due to the
seriousness of the underlying convictions and the history of the Defendant. Accordingly, it is.
       ORDERED that Defendant’s motion to vacate supervised release (Doc. 1156) be
denied.
       DONE AND ORDERED in Chambers in Tampa, Florida this 10th day of July, 2016.

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Copies furnished to: All Counsel of Record
